    Case 4:23-cv-00389-O Document 51 Filed 02/16/24                                       Page 1 of 4 PageID 445



                                IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                        FORT WORTH DIVISION

PETER MEROLA,                                                        §
   Plaintiff,                                                        §
v.                                                                   §                Civil Action No. 4:23-cv-00389-O
                                                                     §
TEXAS CHRISTIAN UNIVERSITY                                           §
    Defendant.                                                       §

        DEFENDANT’S STATUS REPORT CONCERNING SETTLEMENT PAPERS
                  AND REQUEST FOR COURT CONFERENCE

          In response to this Court’s Order dated January 23, 2024 [Dkt. 49] (“Order”) and following

Defendant’s Report Concerning Settlement Papers and Request for Third Extension dated January

30, 204 (Dkt. 50], Defendant Texas Christian University (“Defendant”) respectfully shows the

Court as follows:

                               I.         REQUEST FOR COURT CONFERENCE

          Plaintiff Peter Merola (“Plaintiff”) and Defendant (jointly, the “Parties”) have been

negotiating a formal settlement agreement for six weeks without resolution. Settlement papers

were originally due to the Court on January 15, 2024 [Dkt. 45]. The Court has extended that

deadline twice [Dkt. 47; Dkt. 49]. Despite Defendant’s good faith efforts and multiple proposed

revisions attempting to address Plaintiff’s concerns, the Parties have not reached an agreement

regarding certain terms within the proposed formal settlement agreement (namely, the neutral

reference provision). The Parties’ settlement papers are now over two weeks past due [Dkt. 49;

see also Dkt. 50]. Accordingly, Defendant respectfully requests a telephonic conference with the

Court to finalize language related to the neutral reference provision of the agreement.

                                                  II.        BACKGROUND

          1.         The Parties attended a full-day mediation on Friday, December 15, 2023. A

Defendant’s Status Report Concerning Settlement Papers and Request for Court Conference                         Page 1 of 4
      Case 4:23-cv-00389-O Document 51 Filed 02/16/24                                     Page 2 of 4 PageID 446



Mediated Settlement Agreement1 which contemplated a full and complete release agreement to be

executed at a later date was executed by the parties at the conclusion of the mediation.

           2.        On Monday, December 18, 2023, Defendant requested certain payment information

from Plaintiff to be included in the full and complete release agreement.

           3.        Following receipt of certain payment information from Plaintiff on December 29,

2023, Defendant circulated a formal settlement agreement (“Agreement”) for review and signature

on January 5, 2024. Defendant also provided a “Supplier Qualification Form”2 to be completed by

Plaintiff and his counsel and returned to Defendant as required for issuance of the settlement

checks. The Parties’ ensuing communications are summarized below:

Tues., January 9, 2024: Plaintiff requested certain changes to the Agreement.

Thurs., January 11, 2024: Plaintiff requested certain other changes to the Agreement.

Mon., January 22, 2024: After necessary internal review between certain departments of its

organization, Defendant provided a revised version of the Agreement to Plaintiff.

Thurs., January 25, 2024: Plaintiff requested changes to three portions of the Agreement, including

newly seeking to modify the indemnification provision provided to him on December 29, 2023.

Fri., January 26, 2024: Defendant responded by offering to remove a portion of the Agreement,

and asked Plaintiff to clarify his request regarding indemnification.

Mon., January 29, 2024: In light of the Order directing the parties to file appropriate settlement

papers no later than January 29, 2024, Defendant followed up with Plaintiff on Monday morning,

again asking Plaintiff to provide a mark-up of the indemnification language sought by him.

Defendant attached a revised Agreement incorporating removal of a certain portion of the



1
    Hereinafter, “MSA.”
2
    Defendant requires a completed copy of its “Supplier Qualification Form” in order to issue payment to Plaintiff
    and his counsel.

Defendant’s Status Report Concerning Settlement Papers and Request for Court Conference                      Page 2 of 4
    Case 4:23-cv-00389-O Document 51 Filed 02/16/24                                       Page 3 of 4 PageID 447



Agreement as it had offered the preceding Friday, and implementing language to address

Plaintiff’s dissatisfaction with the neutral reference provision of the Agreement. Past noon on

Monday, January 29, 2024, Plaintiff’s attorney acknowledged receipt of Defendant’s follow-up

email, and stated she is in trial. At 3:51 p.m., Plaintiff rejected Defendant’s revisions to the neutral

reference section and requested certain changes. At 5:19 p.m. on January 29, 2024, Defendant

repeated to Plaintiff why it cannot agree to Plaintiff’s proposal for the neutral reference section

(namely, concerns pertaining to control), and proposed an alternative solution (a neutral reference

letter).

Tues., January 30, 2024: Plaintiff rejected Defendant’s proposal of a neutral reference letter,

bluntly telling Defendant to “stick to the MSA” without further suggestion. Defendant promptly

provided a revised version of the Agreement, re-inserting language for the neutral reference that

is in line with the MSA, and had been proposed to Plaintiff previously.

Weds., January 31, 2024: After business hours, Plaintiff suggested addition of certain neutral

reference language.

Mon., February 5, 2024: The Parties exchanged emails regarding the status of Defendant’s

response to Plaintiff’s proposed language.

Tuesday, February 6, 2024: Plaintiff returned two completed Supplier Qualification Forms to

Defendant. Defendant proposed certain revisions to Plaintiff’s proposed addition to the neutral

reference paragraph to avoid confusion and ensure consistency with the rest of the Agreement.

Defendant asked Plaintiff to return a signed copy of the Agreement by February 14, 2024, and

communicated that Defendant would seek a conference with the Court if Plaintiff still will not

agree to the revised Agreement.

Monday, February 12, 2024: Plaintiff informed Defendant that he is ill and sought “some time to



Defendant’s Status Report Concerning Settlement Papers and Request for Court Conference                     Page 3 of 4
    Case 4:23-cv-00389-O Document 51 Filed 02/16/24                                       Page 4 of 4 PageID 448



get better and continue our discussions to finalize the settlement agreement.” Defendant

maintained its request for a signed copy of the Agreement by the end of February 14, 2024. In

reply, Plaintiff’s counsel wrote, “At this point, we are requesting that we conference with the court

as well. Last I heard, he was in the hospital but I will let you know.”

          4.         Plaintiff has not returned an executed copy of the Agreement to date, and his

counsel has not communicated with defense counsel further. Defendant now seeks a conference

with the Court to finalize language related to the neutral reference provision in the Agreement.


                                                                               Respectfully submitted,


                                                                               /s/ Molly Ann Lawrence
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                                                                               ATTORNEYS FOR DEFENDANT




                                             CERTIFICATE OF SERVICE

        I certify that a true copy of this document was served in accordance with the Federal Rules
of Civil Procedure on February 16, 2024.

                                                               /s/ Molly Ann Lawrence
                                                               Molly Ann Lawrence




Defendant’s Status Report Concerning Settlement Papers and Request for Court Conference                        Page 4 of 4
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